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 8                                IN THE UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:12-CR-00326-AWI-BAM-4
12                                   Plaintiff,        FINAL ORDER OF FORFEITURE
13                            v.
14   GENARO VELA-RODRIGUEZ,

15                                 Defendant.
16

17          WHEREAS, on August 8, 2014, this Court entered a Preliminary Order of
18 Forfeiture pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c) and

19 Fed. R. Crim. P. 32.2(b)(1), based upon the plea agreement entered into between plaintiff

20 and defendant Genaro Vela-Rodriguez forfeiting to the United States the following

21 property:

22                   I.      Items seized from LIBRADA SUCILLA-SANCHEZ at Mono Ave. in
23 Fresno, California:

24                           A.      5,646 counterfeit audio CDs,
25                           B.      28,487 counterfeit movie DVDs, and
26                           C.      1 Samsung Cell Phone,
27                   II. Items seized from JOSE EDUARDO JERONIMO and DAMIAN
28 MORALES-JERONIMO at Illinois Ave. in Fresno, California:

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 1                          A.   4,747 counterfeit audio CDs,
 2                          B.   1,000 jewel cases,
 3                          C.   300 disc envelopes,
 4                          D.   176 music videos - CDs,
 5                          E.   425 inserts,
 6                          F.   24,560 counterfeit movie DVDs,
 7                          G.   1 laptop computer,
 8                          H.   8 San Disc Memory Cards with adapters,
 9                          I.   8 cellular phones,
10                          J.   2 Pioneer DVD Writer units,
11                          K.   3 tower CD/DVD duplicators, and
12                          L.   1 box of .38 caliber ammunition,
13                  III. Six counterfeit movie DVDs seized from 5311 E. Huntington Ave.,
14 Fresno, California.

15                  IV. Items seized from JOSE ANTONIO HERNANDEZ and GENARO VELA-
16 RODRIGUEZ at Effie Street in Fresno, California:

17                          A.   5,568 counterfeit audio CDs,
18                          B.   31,839 counterfeit movie DVDs,
19                          C.   10 counterfeit audio CDs,
20                          D.   4,700 clear CD/DVD sleeves,
21                          E.   45,000 CD/DVD insert cards,
22                          F.   7 tower CD/DVD duplicators,
23                          G.   5 cellular phones:
24                     1.   Red Motorola Razor
25                     2. Black LG Verizon
26                     3. Black Motorola Nextel
27                     4. Black T-Mobile Samsung
28                     5. Black Cricket Sanyo

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 1                           H.   1 Samsung Plasma TV, S/N AUMH3CQS509788D
 2                           I.   1 Sony Camcorder, Model DVX-801
 3                           J.   1 Garmin GPS,
 4                           K.   10 counterfeit bills of U.S. currency (9x $100 and 1x $20)
 5                                totaling $920,
 6                           L.   $2,401 U.S. Currency seized from JOSE ANTONIO
 7                                HERNANDEZ, and
 8                           M.   $286 U.S. Currency seized from GENARO VELA-RODRIGUEZ,
 9                   V. Items seized from 149 S. Dearing, Fresno, California:
10                           A.   3,658 counterfeit movie DVDs
11                           B.   5,069 counterfeit CDs
12          AND WHEREAS, beginning August 24, 2014, for at least 30 consecutive days, the
13 United States published notice of the Court’s Order of Forfeiture on the official internet

14 government forfeiture site www.forfeiture.gov. Said published notice advised all third

15 parties of their right to petition the Court within sixty (60) days from the first day of

16 publication of the notice for a hearing to adjudicate the validity of their alleged legal

17 interest in the forfeited property;

18          AND WHEREAS, the Court has been advised that no third party has filed a claim
19 to the subject property and the time for any person or entity to file a claim has expired.

20          Accordingly, it is hereby ORDERED and ADJUDGED:
21          1. A Final Order of Forfeiture shall be entered forfeiting to the United States of
22 America a1l right, title, and interest in the above-listed property pursuant to 18 U.S.C. §

23 981(a)(1)(C), 28 U.S.C. § 2461(c) and Fed. R. Crim. P. 32.2(b)(1), to be disposed of

24 according to law, including all right, title, and interest of Genaro Vela-Rodriguez.

25          2. All right, title, and interest in the above-listed property shall vest solely in the
26 name of the United States of America.
27 /////

28 /////

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 1         3. The Department of Homeland Security, Immigration Customs Enforcement or
 2 Customs and Border Protection shall maintain custody of and control over the subject

 3 property until it is disposed of according to law.

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 5 IT IS SO ORDERED.

 6     Dated:      February 2, 2017
 7                                              UNITED STATES DISTRICT JUDGE

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